                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT GREENEVILLE




UNITED STATES OF AMERICA                            )
                                                    )      No. 2:06-CR-05
V.                                                  )      District Judge Greer
                                                    )      Magistrate Judge Inman
MICHAEL CHARLES GUNTER                              )



                          REPORT AND RECOMMENDATION

       The defendant Gunter has filed a motion to suppress evidence derived from a search

of his property on January 26, 2006. (Doc. 121).

       The motion has been referred to the magistrate judge pursuant to 28 U.S.C. § 636 and

the standing order of this court.

       The issue is one of law only; no evidence was presented beyond the affidavit which

was filed in support of the application for the search warrant.

       The search warrant was issued by the magistrate judge of this Court on January 20,

2006. The warrant authorized the executing officer to search Mr. Gunter’s residence in

Newport, Tennessee, as well as all outbuildings and vehicles on or about that property, for

illegal drugs and other evidence relating to illegal drug trafficking.

       The affidavit actually was filed in support of two search warrants, one for Mr.

Gunter’s property, as aforesaid, and one for the property of Bill Banks, who is a co-defendant

in this case. The applicant for the search warrant, and the affiant, was James D. Williams,



Case 2:06-cr-00005-JRG       Document 139          Filed 07/07/06   Page 1 of 14    PageID #:
                                              31
a Special Agent of the Tennessee Bureau of Investigation. With respect to the defendant

Gunter, agent Williams’ affidavit was based on information imparted to him by a confidential

informant (“CI-1”). Moreover, the CI-1’s information concerning Mr. Gunter, which CI-1

relayed to Agent Williams, was based on statements made by Banks to CI-1. In other words,

to put it in starkly simple terms, Banks discussed drug trafficking with the informant and, in

the course of those conversations, he mentioned Mr. Gunter by name as being a dealer of

illegal drugs. The informant passed on Banks’ statements regarding Gunter to Agent

Williams, who included those statements in his affidavit in support of his application to

search the premises of Mr. Gunter.

       Defendant argues that Agent Williams’ affidavit, with regard to Mr. Gunter, was

based on “third-hand and even fourth-hand,” information which was not otherwise

corroborated or verified in any fashion, and therefore cannot constitute probable cause as a

matter of law. Defendant further argues that, even if there was probable cause, the affidavit

failed to demonstrate any nexus between Mr. Gunter’s criminal activity and the place to be

searched. Lastly, defendant argues that the search cannot be saved by the “good faith”

exception of United States v. Leon, 468 U.S. 897 (1984), because the affiant and the

executing officer were the same person, viz., agent Williams.

       Agent Williams’ affidavit is lengthy, but it can be fairly summarized as follows:

       (a) CI-1 previously had sold marijuana to Harold Grooms.

       (b) CI-1 represented that he had four to six pounds of cocaine which he wished to sell

to Harold Grooms and Mike Gunter, and he was discussing this potential sale with Bill Banks

                                              2


Case 2:06-cr-00005-JRG       Document 139         Filed 07/07/06   Page 2 of 14     PageID #:
                                             32
as an intermediary.

       (c) On November 29, 2005, in a recorded conversation, CI-1 expressed an interest in

buying a quantity of marijuana from Banks, and Banks told CI-1 that he had seven pounds

of marijuana for sale.

       (d) The next day, CI-1 purchased two pounds of marijuana from Banks for $800.00

and a promise to pay an additional $1,000.00.1

       (e) The following day, December 1, 2005, CI-1 paid Banks the remaining $1,000.00;

Banks advised that he had sold the other five pounds of marijuana to another buyer, but he

was expecting fifteen more pounds in a few days.

       (f) On December 6, 2005, Banks and CI-1 discussed the potential sale of the cocaine

[see, ¶ 2, above]; Banks also delivered one pound of marijuana to CI-1 at this time.

       (g) On December 7, 2005, CI-1 and Banks again met to discuss the potential sale of

cocaine; CI-1 also paid Banks $900.00 for the pound of marijuana purchased from Banks the

day before.

       (h) Banks told CI-1 that Harold Grooms and David Lancaster, an associate of Grooms,

wanted Banks to deliver the cocaine to one of several possible locations.

       (i) Banks told CI-1 that Grooms and Gunter were “associates in the cocaine business.”

       (j) On December 13, 2005, Banks told CI-1 that Gunter had gone to Florida and

procured one kilogram of cocaine, that Gunter also wanted to guy one kilogram of cocaine


       1
        The affidavit recites that all meetings between the confidential informant and Banks
were recorded. See ¶ 10.

                                               3


Case 2:06-cr-00005-JRG        Document 139         Filed 07/07/06   Page 3 of 14      PageID #:
                                              33
from Banks, and that he would buy even more if he was able to sell the kilogram he bought

in Florida.

          (k) Banks consistently told CI-1, as late as January 13, 2006 (one week before the

warrant was issued), that Gunter wanted to buy two to four kilograms of cocaine; Banks said

that he would get the purchase money from Gunter and would provide samples of the cocaine

to Harold Grooms for testing.

          (l) If the cocaine met Grooms’ test for purity, Grooms would give Banks the money

to buy the cocaine from CI-1; Banks intended to buy cocaine for both Grooms and Gunter

at the same time.

          (m) On December 18, 2005, Banks told CI-1 that Grooms and Lancaster had

purchased four kilograms of cocaine from another supplier, but Grooms still might be

interested in buying cocaine from Banks if Banks would provide a sample to be tested for

purity.

          (n) Lancaster picked up the sample of cocaine on December 23, 2005, but he failed

to contact Banks; Banks had some concern that Lancaster had not given the sample to

Grooms for testing. Banks indicated that Grooms was interested in buying three to four

kilograms of cocaine, and that Grooms had recently purchased eight kilograms from an

unknown supplier.

          (o) On January 5, 2006, Banks told CI-1 that he still had not heard from Lancaster

regarding the testing of the sample earlier provided. Banks asked CI-1 to get another sample

of the cocaine and that Banks would personally deliver it to Grooms for testing. Banks

                                              4


Case 2:06-cr-00005-JRG         Document 139        Filed 07/07/06   Page 4 of 14   PageID #:
                                              34
mentioned that he had sold three kilograms of cocaine to Gunter.

       (p) On January 16, 2006, CI-1 told Banks that CI-1's purported supplier of cocaine had

to have a minimum order of eight kilograms before he would make a delivery; Banks stated

that he intended to sell Gunter two kilograms of cocaine.

       (q) On January 19, 2006, Banks told CI-1 that Gunter had purchased a kilogram of

cocaine and that Lancaster and Grooms had purchased two kilograms. Banks told CI-1 that

Grooms was concerned about CI-1's competition with Grooms’ cocaine business; Banks

indicated that Grooms wanted to take possession of any cocaine ultimately intended for

Gunter and “re-rock” it before it was delivered to Gunter.2 Banks told CI-1 that Grooms

believed that CI-1 was selling his cocaine too cheaply to Gunter.

       ®) During a meeting of CI-1 and Banks, Banks received a phone call; Banks said the

caller was Gunter, that Gunter wanted to buy two kilograms of cocaine for $22,000.00 per

kilogram. Banks and CI-1 also discussed the advisability of talking to Harold Grooms to

determine if Grooms would buy cocaine from Banks and CI-1 if they agreed to sell only to

Grooms and Lancaster, or if they agreed to sell to other customers after Grooms had re-

rocked the cocaine.3

       It should be noted at this juncture what the affidavit undeniably establishes. First, it

establishes the reliability of CI-1. Secondly, it provides a wealth of probable cause to believe


       2
        “Re-rocking” means removing some of the material from a kilogram of cocaine and then
re-packaging it to appear as if it still contained one kilogram. In other words, re-rocking is a
device to cheat the purchaser.
       3
        If antitrust laws applied to the cocaine business, Grooms and Banks would be guilty of
conspiring to restrain trade and fix prices.

                                               5
Case 2:06-cr-00005-JRG        Document 139         Filed 07/07/06   Page 5 of 14      PageID #:
                                              35
that Mr. Banks was a huge trafficker in narcotics. Indeed, the defendant Gunter attacks

neither the reliability of CI-1, nor the fact that the affidavit provides probable cause to

believe that Banks was a drug dealer. It is Gunter’s argument that it is Banks’ relia-bility that

is at issue and that there are no facts set forth in the affidavit that corroborate Banks’

references to Gunter as a narcotics trafficker.

       Probable cause may be based on hearsay if the source of the hearsay evidence is

reliable. United States v. Ventresca, 380 U.S. 102, 103 (1965). There have been no cases

cited to this Court that suggest that multiple layers of hearsay are, as a matter of law,

insufficient to establish probable cause. If reliability is established at each successive layer,

there would seem to be no reason that hearsay cannot provide probable cause to support the

issuance of a search warrant. Under Illinois v. Gates, 462 U.S. 213 (1983), a judge is to use

the “totality-of-the-circumstances” analysis in determining whether or not the affidavit

establishes probable cause:


              The task of the issuing magistrate is simply to make a practical,
              common-sense decision whether, given all the circumstances set
              forth in the affidavit before him, including the “veracity” and
              “basis of knowledge” of persons supplying hearsay information,
              there is a fair probability that contraband or evidence of a crime
              will be found in a particular place. And the duty of a reviewing
              court is simply to ensure that the magistrate had a “substantial
              basis for . . . conclud[ing]” that probable cause existed. We are
              convinced that this flexible, easily applied standard will better
              achieve the accommodation of public and private interest that
              the Fourth Amendment requires than does the approach that has
              developed from Aguilar and Spinelli.


462 U.S. at 238.


                                               6
Case 2:06-cr-00005-JRG        Document 139          Filed 07/07/06   Page 6 of 14     PageID #:
                                               36
       As already noted, CI-1's reliability was clearly established, and Gunter does not argue

otherwise. Since CI-1 was reliable, it follows that his statements to Agent Williams

regarding what Banks’ said to CI-1 about Gunter were both credible and reliable.4 And thus

the question: Was it reasonable for Agent Williams, and ultimately this magistrate judge, to

rely upon Banks’ statements regarding Gunter’s involvement in the drug trade? To put it in

Fourth Amendment terminology, under all the circumstances presented by the affidavit, did

Banks’ statements regarding Gunter’s involvement in the narcotics trade constitute probable

cause to believe that Gunter in fact was so involved? This magistrate judge so believed when

he signed the warrant, and he remains of the same opinion.

       “Hearsay” per se is not really the issue in this case. As noted, hearsay itself is no

impediment to a finding of probable cause. The true inquiry is the reliability of the hearsay

evidence. In the case of hearsay information being passed by a reliable confidential

informant, from a legal standpoint the informant may be ignored. It is just as if the affiant -

here, Agent Williams - personally overheard the conversation with Mr. Banks and personally

heard Banks’ statements regarding Gunter.5 Keeping firmly in mind the circumstances of all

the conversations between Banks and the CI-1, would Banks’ statements regarding Gunter

give Agent Williams reasonable cause to believe that, more likely than not, Gunter was a co-

conspirator and a drug trafficker? Whether it was reasonable to so believe brings into play

the reliability of Banks’ remarks. In the context of a trial, in which Banks is a co-defendant


       4
        And, it should be recalled that Banks’ conversations with the confidential informant
were recorded.
       5
        Which he did, in reality; Banks’ statements were recorded.

                                               7
Case 2:06-cr-00005-JRG        Document 139          Filed 07/07/06   Page 7 of 14     PageID #:
                                               37
and testifying against Gunter, his motivations in implicating Gunter could be questioned

since he arguably would have something to gain by his testimony. But in the context of a

drug deal, in which Banks had absolutely nothing to gain by implicating Gunter, it is a totally

different situation. A reasonable person, i.e. the archetypal man on the street, would realize

that Banks had nothing to gain. Why would Banks, in such a casual, non-threatening

situation, gratuitously and falsely implicate Gunter?

              [P]robable cause is a fluid concept - turning on the assessment
              of probabilities in particular factual context - not readily or even
              usefully reduced to a neat set of legal rules. Informants’ tips
              doubtless come in many shapes and sizes from many types of
              persons. As we said in Adams v. Williams, 407 U.S. 143, 147,
              92 S.Ct. (1921), 1924, 32 L.Ed.2d 612 (1972), “Informants’ tips,
              like all other clues and evidence coming to a policeman on the
              scene may vary greatly in their value and reliability.” Rigid
              legal rules are ill-suited to an area of such diversity. “One
              simple rule will not cover every situation.”

 462 U.S. at 232.

       By definition, probable cause involves probabilities, not certainties:

              It is almost a tautology to say that determining whether probable
              cause existed involves a matter of probabilities, but it
              nevertheless fairly describes the analysis we undertake . . .. The
              probable cause issue must be analyzed under the totality of the
              circumstances as to whether there is a fair probability that a
              crime occurred . . .. Although the fair probability must be
              certainly more than a bare suspicion . . . our court has rejected
              the notion that the government must show that a reasonable
              person would have thought, by a preponderance of the evidence,
              that a defendant committed a crime . . .. In short, the requisite
              fair probability is something more than a bare suspicion, but
              need not reach the fifty percent mark.

United States v. Garcia, 179 F.3d. 265, 268 (5th Cir. 1999).

              . . . [T]o the skeptic, any proposition - no matter how seemingly

                                               8
Case 2:06-cr-00005-JRG       Document 139          Filed 07/07/06   Page 8 of 14     PageID #:
                                              38
               certain - carries with it a degree of doubt. But judges are not
               philosophers. To find probable cause, the law does not require
               that we rule out every conceivable explanation other than a
               suspect’s illegal conduct. Instead, we need only consider
               whether there are facts that, given the factual and practical
               considerations of every day life, could lead a reasonable person
               to believe that an illegal act has occurred or is about to occur.

United States v. Strickland, 144 F.3d 412, 416 (6th Cir. 1998). [Italics supplied].

               In determining whether probable cause exists, we deal with
               probabilities . . . which are the factual and practical
               considerations of every day life on which reasonable and
               prudent men, not legal technicians, act.

Rankin v. Evans, 133 F.3d 1425, 1435 (11th Cir. 1998).

       Could Banks have been lying about Gunter’s involvement? Of course he could have.

But even a confidential informant with a track record of reliability can depart from the

straight and narrow and tell a lie. Again, the issue is whether Banks was probably telling the

truth, not whether he was possibly lying. Under all the circumstances, most of which involve

Banks’ efforts to put together a drug deal, it is far more likely that he was telling the truth

than not. In practical effect, Banks was the informant; CI-1 was merely the conduit of the

information generated by Banks.6 The fact that the informant (Banks) admitted to a crime

is an “indicia of reliability” of the information he provided. See, e.g., United States v. Harris,

403 U.S. 573, 583 (1971).

       At the risk of belaboring the point, CI-1's reliability was firmly established and Banks’

statements regarding Gunter were reliable simply because Banks had no reason under the


       6
        Not to mention the tape recorder he was wearing.

                                                9


Case 2:06-cr-00005-JRG        Document 139          Filed 07/07/06   Page 9 of 14      PageID #:
                                               39
circumstances to falsely implicate Gunter in the drug trade. Reliability of hearsay evidence

is the key to determining whether or not that evidence provides probable cause to believe that

evidence of a crime could be found at a particular place, regardless of the number of layers

of that hearsay. Admittedly, the more layers there are, the more unreliable the hearsay

evidence might become. But in this case, in reality there are but two layers. Gunter to

Banks, and then Banks to the confidential informant.7

       Taking into account the detailed information set forth in the affidavit, including

Banks’ repeated references to Gunter as a drug dealer, this magistrate judge believed, and

still believes, that the affidavit supplied probable cause to believe that Gunter was a drug

trafficker.

       With regard to Gunter’s argument that the affidavit fails to demonstrate a nexus to

Gunter’s criminal activity and the place to be searched - his home - , it is reasonable to expect

that evidence of that drug dealing would be found in or about Gunter’s residence: “In the

case of drug dealers, evidence is likely to be found where the dealers live.” U.S. v. Davidson,

936 F.2d 856, 860 (6th Cir. 1991). Therefore, having probable cause to believe that Gunter

was a drug trafficker, it also was reasonable to believe that evidence of his drug dealing

would be found at his residence.

       If the district judge disagrees that Williams’ affidavit supplied probable cause to issue



       7
       There would be an additional layer, of course, if one should consider transmission of the
information from the confidential informant to Agent Williams. But all of the conversa-tions
concerning Mr. Banks and CI-1 were recorded.

                                               10


Case 2:06-cr-00005-JRG         Document 139 Filed 07/07/06           Page 10 of 14      PageID
                                          #: 40
the warrant, then the good-faith exception of Leon must be considered.

       It is now Hornbook law, but it bears repeating: the Exclusionary Rule is not a personal

constitutional right of the person aggrieved, but a judicially created remedy designed

primarily to deter improper conduct by the police. United States v. Leon, 468 U.S. 897

(1984). Since the Exclusionary Rule was created to deter police misconduct, even evidence

obtained by use of a search warrant not supported by probable cause nevertheless may be

admitted into the trial if the executing officer’s reliance on the search warrant was in good

faith and objectively reasonable. Leon, supra.

       In the Sixth Circuit there are four situations in which an officer’s reliance on a search

warrant is not reasonable, and to which the Leon “good faith exception” cannot apply: (1) the

affidavit contains information the affiant knew or should have known is false; (2) the issuing

judge lacked neutrality and detachment; (3) the affidavit is devoid of information that

supports a probable cause determination, thereby rendering unreasonable any belief that

probable cause exists; and (4) the warrant is facially deficient. United States v. Czuprynski,

46 F.3d. 560, 563 (6th Cir. 1995). Defendant does not argue that Agent Williams’ affidavit

contains information Williams knew to be false, or that this magistrate judge lacked

neutrality and detachment, or that the warrant is facially deficient. Rather, defendant argues

that the affidavit is utterly devoid of information that supports a probable cause

determination. In this regard, it is a consistent theme throughout defendant’s supporting brief

that Agent Williams’ affidavit was a “bare bones affidavit.” Respectfully, the magistrate

judge disagrees. If a judge, or even any lay person, read and considered only those sentences

                                              11


Case 2:06-cr-00005-JRG        Document 139 Filed 07/07/06            Page 11 of 14     PageID
                                         #: 41
in the affidavit in which Gunter was specifically mentioned, then indeed it would be “bare

bones” and practically nonsensical. But the affidavit must be read and considered in its

entirety. Probable cause can be compared to a mosaic. Each individual tile, viewed singly

and in isolation, reveals no picture. Viewing a number of tiles still means nothing. But when

one stands back and views the entire mosaic, not just the individual tiles but all of them

together, then a picture can be seen. To consider only those relatively few sentences which

mention Gunter only, ignoring all the other facts in the affidavit, flies squarely in the face

of the “totality-of-the-evidence” analysis regimen. Defendant’s reliance on United States v.

Weaver, 99 F.3d 1372 (6th Cir. 1996), is misplaced. In Weaver, the informant told the affiant

that, some days earlier, the informant had been on the defendant’s premises and, while there,

he observed a quantity of marijuana “expressly for the purpose of unlawful distribution.” 99

F.3d at 1378. The Sixth Circuit first held that this was merely a statement of the informant’s

conclusory opinion, i.e., there was some “quantity” of marijuana on the premises that was

destined for “unlawful distribution.” The court went on to hold that this was a “bare bones”

affidavit. The affidavit in Weaver, and the affidavit presented to this Court, are starkly

different. Banks did not relate his opinions or subjective beliefs regarding Gunter, he related

facts.

         Under all the circumstances, Banks’ statements to the confidential informant regarding

Gunter’s involvement in the drug trade were reliable. Once again, what possibly could have

been Banks’ motive to lie regarding Gunter’s involvement? This fact, coupled with the fact

that Banks’ statements regarding Gunter were recorded, and that he thoroughly implicated

                                              12


Case 2:06-cr-00005-JRG         Document 139 Filed 07/07/06          Page 12 of 14      PageID
                                          #: 42
himself in criminal activity, provided a high-level of reliability as far as Banks’ statements

were concerned. Can it be said that Williams’ affidavit was so lacking in any indicia of

probable cause with respect to Gunter that Williams could not reasonably and in good faith

rely upon the warrant that was issued by this Court? Respectfully, the court believes that he

could have. Even if multiple layers of hearsay can never by themselves support a finding of

probable cause as a matter of law, is that same knowledge chargeable to Agent Williams?

Inasmuch as there seems to be no cases that flatly hold that multiple layers of hearsay as a

matter of law cannot constitute probable cause irrespective of reliability, then it would seem

to follow that Agent Williams could rely upon the issuance of the warrant.

       In conclusion, it is still believed that the warrant, under the totality of the

circumstances, established probable cause to believe that Mike Gunter was involved in

narcotics trafficking, and that there was probable cause to believe that evidence of that drug

trafficking would be found at his residence. Further, even if the affidavit failed to establish

probable cause, it is believed that Agent Williams reasonably and in good faith relied upon

the warrant when he executed it.

       For the foregoing reasons, it is respectfully recommended that defendant’s motion to

suppress be denied.

       If a party files objections to this report and recommendation, the attorney for that party

shall provide a copy of such objections to the opposing counsel on the same day the

objections are filed, either by hand-delivery or facsimile transmission. The opposing counsel

shall file his/her response to the objections within five business days of the date the

                                              13


Case 2:06-cr-00005-JRG        Document 139 Filed 07/07/06            Page 13 of 14      PageID
                                         #: 43
objections are filed.

       Respectfully submitted,



                                                 s/ Dennis H. Inman
                                             United States Magistrate Judge




                                        14


Case 2:06-cr-00005-JRG      Document 139 Filed 07/07/06     Page 14 of 14     PageID
                                       #: 44
